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                   EXHIBIT B
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                        Counsel for Defendant Meta Platforms, Inc.
                   12

                   13                              UNITED STATES DISTRICT COURT

                   14                           NORTHERN DISTRICT OF CALIFORNIA

                   15
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC
                   16
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   17                                                   RESPONSES AND OBJECTIONS TO
                               v.                                       PLAINTIFFS’ FIRST SET OF
                   18                                                   INTERROGATORIES
                        META PLATFORMS, INC., a Delaware
                   19   corporation;

                   20                                   Defendant.      Trial Date: None
                                                                        Date Action Filed: July 7, 2023
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                                                                                             PLTFS’ FIRST SET OF ROGS
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                    1   PROPOUNDING PARTY:           PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                     GOLDEN, MICHAEL CHABON, TA-NEHISI COATES, JUNOT DÍAZ,
                    2                                ANDREW SEAN GREER, DAVID HENRY HWANG, MATTHEW KLAM,
                    3                                LAURA LIPPMAN, RACHEL LOUISE SNYDER, AYELET WALDMAN,
                                                     AND JACQUELINE WOODSON
                    4
                        RESPONDING PARTY:            DEFENDANT META PLATFORMS, INC.
                    5
                        SET NUMBER: ONE              ONE
                    6

                    7          Pursuant to Federal Rule of Civil Procedure 33 and Local Rule 33, Defendant Meta

                    8   Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,

                    9   Christopher Golden, Michael Chabon, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David

                   10   Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Ayelet Waldman, and

                   11   Jacqueline Woodson’s (“Plaintiffs”) First Set of Interrogatories (“Interrogatories”).

                   12   I.     RESPONSES TO ALL INTERROGATORIES

                   13          1.      Meta’s responses to these Interrogatories are made to the best of Meta’s current

                   14   employees’ present knowledge, information, and belief. Said responses are at all times subject to

                   15   such additional or different information that discovery or further investigation may disclose and,

                   16   while based on the present state of Meta’s recollection, is subject to such refreshing of recollection,

                   17   and such additional knowledge of facts, as may result from Meta’s further discovery or

                   18   investigation. Meta reserves the right to make any use of, or to introduce at any hearing and at trial,

                   19   information and/or documents responsive to these Interrogatories but discovered subsequent to the

                   20   date of these responses, including, but not limited to, any such information or documents obtained

                   21   in discovery herein.

                   22          2.      To the extent that Meta responds to an Interrogatory by stating that Meta will

                   23   provide information or documents that Meta deems to embody material that is private, business

                   24   confidential, proprietary, trade secret, or otherwise protected from disclosure pursuant to Federal

                   25   Rule of Civil Procedure 26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject

                   26   to the parties’ stipulated protective order governing the unauthorized use or disclosure of such

                   27   information or documents with a designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

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                    1   - ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” distinction
                    2   (ECF No. 90, the “Protective Order”).
                    3          3.      Meta reserves all objections or other questions as to the competency, relevance,
                    4   materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this
                    5   or any other action for any purpose whatsoever of Meta’s responses herein and any document or
                    6   thing identified or provided in response to the Interrogatories.
                    7   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                    8          Whether or not separately set forth in response to each Interrogatory, Meta makes these
                    9   objections to the following Instructions and Definitions:
                   10          1.      Meta objects to the definition of “Agreement” as overbroad and unduly burdensome
                   11   to the extent that it encompasses oral contracts, arrangements, or understandings, including those
                   12   that are informal. Meta further objects to the definition of “Agreement” as vague, ambiguous, and
                   13   unintelligible as to the term “modifications” to the extent it is intended to mean something distinct
                   14   from “versions” or “amendments.” Meta will construe “Agreement” to mean written contracts,
                   15   including drafts, versions, amendments, exhibits, and appendices thereof.
                   16          2.      Meta objects to the definition of “Communications” to the extent it encompasses
                   17   email and other forms of electronic correspondence (collectively “email”). The parties are currently
                   18   negotiating a protocol for managing electronic discovery (“ESI Order”), including email. The
                   19   parties continue to meet and confer regarding that language.            Regardless, under Meta’s
                   20   understanding of both parties’ current proposals, email production shall be limited to a specified
                   21   number of custodians and search terms to be identified by the requesting party, and such “search
                   22   terms shall be narrowly tailored to particular issues.” In view of this, Meta objects to production
                   23   of email or information therefrom in response to these Interrogatories at this time. Pending the
                   24   entry of an ESI Order, and pending service of identification of custodians and search terms that
                   25   comply with any such additional agreed upon or Court-ordered requirements for email production
                   26   in an entered ESI Order, Meta does not intend to search for or produce email. At such time, Meta
                   27   will respond to any identification of custodians and search terms that comply with the requirements
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                    1   of the entered ESI Order in the manner set forth by the ESI Order. Meta expressly reserves the right
                    2   to object to any custodians and search terms proposed by Plaintiffs.
                    3           3.      Meta objects to the definitions of “Llama 1,” “Llama 2,” and “Llama 3” as vague
                    4   and ambiguous as to the undefined terms “precursor models” and “variant models.” Meta further
                    5   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of
                    6   the case to the extent that it purports to require Meta to produce documents or information
                    7   concerning large language models (“LLMs”) that were not publicly released and/or were not trained
                    8   on corpuses of text that include any of Plaintiffs’ allegedly copyrighted works. For the same reason,
                    9   Meta objects to these definitions to the extent that they purport to require Meta to produce
                   10   documents or information concerning LLMs that are not relevant to any party’s claims or defenses.
                   11   For purposes of these responses, Meta construes the term “Llama 1” to refer to the LLM released
                   12   by Meta as Llama on February 24, 2023, and the term “Llama 2” to refer to the LLM released by
                   13   Meta under that name on July 18, 2023. Meta objects to the term “Llama 3,” and to all Instructions
                   14   and Interrogatories that include it, on the ground that Llama 3 is not yet completed and not the
                   15   subject of any claim in this litigation.
                   16           4.      Meta objects to the definition of “Meta” as overbroad, unduly burdensome, and
                   17   disproportionate to the needs of the case to the extent that it purports to require Meta to produce
                   18   documents or information concerning any “owners” regardless of shareholder interest and
                   19   shareholders with an ownership of in Meta of greater than 5%. Meta will construe “Meta” or “You”
                   20   to mean Meta Platforms, Inc.
                   21           5.      Meta objects to the definition of “Meta Language Models” as vague and ambiguous
                   22   as to the undefined terms “precursor models” and “variant models.” Meta further objects to this
                   23   definition as overbroad, unduly burdensome, and disproportionate to the needs of the case to the
                   24   extent that it purports to require Meta to produce documents or information concerning LLMs that
                   25   were not publicly released and/or were not trained on corpuses of text that include any of Plaintiffs’
                   26   allegedly copyrighted works. For the same reason, Meta objects to this definition to the extent that
                   27   it purports to require Meta to produce documents or information that are not relevant to any party’s
                   28   claims or defenses. Meta will construe “Meta Language Models” to mean the models within the
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                    1   Llama family of LLMs that have been publicly released by Meta, namely Llama 1, Llama 2, and
                    2   Code Llama.
                    3          6.      Meta objects to the definition of “Relevant Period” as vague, ambiguous, and
                    4   unintelligible, as it is defined circularly to mean “all times relevant to… the Complaint.” Meta will
                    5   construe the Relevant Period to mean January 1, 2022 to the present.
                    6          7.      Meta objects to the definition of “Training Data” as vague, ambiguous, and
                    7   unintelligible as to the term “other material,” which is indefinite and undefined. Meta further
                    8   objects to the definition of “Training Data” as vague and ambiguous as to the phrase “considered
                    9   for use,” which, read literally, would encompass any dataset considered by any Meta employee,
                   10   regardless of the seriousness of such consideration and whether or not that consideration was ever
                   11   acted upon. Meta further objects to this definition to the extent it purports to include datasets (or
                   12   “considered” datasets) that include content to which Plaintiffs have made no claim of ownership
                   13   and which are not the subject of any allegations of copyright infringement by Plaintiffs. Meta will
                   14   construe “Training Data” to mean the “Books3” textual dataset used to train the Meta Language
                   15   Models (as construed above).
                   16          8.      Meta objects to the definition of “You” and “Your” as overbroad, unduly
                   17   burdensome, and nonsensical, insofar as it refers to “the specific Defendant(s) producing
                   18   documents in response to these Requests.” There is only one defendant in this case, Meta, and this
                   19   response is to the Interrogatories, not any document requests. Meta further objects to this definition
                   20   to the extent it seeks to impose upon Meta an obligation to investigate information or documents
                   21   outside of its possession, custody, or control. For purposes of these responses, Meta construes the
                   22   terms “You” and “Your” coextensively with Meta (as construed above).
                   23          9.      Meta objects to Instruction 1 to the extent that it purports to require more of Meta
                   24   than any obligation imposed by law, and would subject Meta to unreasonable and undue burden
                   25   and expense. Meta will supplement or amend its responses to these Interrogatories in accordance
                   26   with Meta’s obligations under Rule 26(e).
                   27          10.     Meta objects to Instruction 2, which defines the “Relevant Period” as January 1,
                   28   2000 to the present. Such definition is overbroad, unduly burdensome, and disproportionate to the
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                    1   needs of the case because it both precedes the existence of Facebook (and therefore Meta) by
                    2   several years, and the development of the Meta Language Models by decades. For the same reason,
                    3   the definition of “Relevant Period,” as applied to the Interrogatories, would encompass information
                    4   that is irrelevant to the parties’ claims and defenses. The Instruction is also inconsistent with the
                    5   definition of “Relevant Period” provided on page 3 of the Interrogatories and is therefore vague
                    6   and ambiguous. Meta will construe the Relevant Period to mean January 1, 2022 to the present.
                    7          11.     Meta objects to Instruction 4 (referring to Fed. R. Civ. P. Rule 33(d)) on the ground
                    8   that it purports to require more of Meta than any obligation imposed by law, and would subject
                    9   Meta to unreasonable and undue burden and expense.
                   10          12.     Meta objects to Instruction 6 (outlining additional obligations for allegedly
                   11   incomplete responses) to the extent that it purports to require Meta to investigate information
                   12   outside of its possession, custody, or control.
                   13          13.     Meta objects to Instruction 8 (outlining additional obligations for any privilege
                   14   objection) on the ground that it purports to require more of Meta than any obligation imposed by
                   15   law, and would subject Meta to unreasonable and undue burden and expense.
                   16          14.     Meta objects to Instruction 9 (outlining additional obligations for any work product
                   17   objection) on the ground that it purports to require more of Meta than any obligation imposed by
                   18   law, and would itself require disclosure of information protected by attorney-client privilege and/or
                   19   attorney work product doctrine.
                   20          15.     Meta objects to Instruction 10 (building in a separate question for each
                   21   Interrogatory) on the ground that it purports to require more of Meta than any obligation imposed
                   22   by law, seeks disclosure of information protected by attorney-client privilege and/or attorney work
                   23   product doctrine, and seeks to circumvent Plaintiffs’ interrogatory limit.
                   24          16.     Meta objects to Instruction 11 (purporting to require responses for “all predecessors,
                   25   successors, subsidiaries … divisions and/or affiliates of Meta”), on the ground that it purports to
                   26   require more of Meta than any obligation imposed by law, and would subject Meta to unreasonable
                   27   and undue burden and expense. Meta further objects to Instruction 11 to the extent that it purports
                   28   to require Meta to investigate information outside of its possession, custody, or control. As such
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                    1   the Instruction if overly broad, as well. Subject to any objections applicable to a particular
                    2   Interrogatory, Meta will conduct a reasonable, proportionate search for non-privileged, relevant,
                    3   responsive information within its possession, custody, or control.
                    4          17.     In responding to all Interrogatories, Meta will comply with the requirements of the
                    5   Federal Rules of Evidence and Federal Rule of Civil Procedure 26.
                    6   III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL INTERROGATORIES
                    7   INTERROGATORY NO. 1:
                    8          Describe in detail the data You have used to train or otherwise develop the Meta Language
                    9   Models, Including, for each:
                   10          a.      How You obtained the data, e.g., by scraping the data, purchasing it from third
                   11   parties, or by other means;
                   12          b.      All sources of Data, including any third parties that provided data sets;
                   13          c.      To the extent the data was derived from publicly available websites, a list of all such
                   14   websites and, for each, the percentage of the data corpus that is derived from that website;
                   15          d.      The categories of content included in the data and the extent to which each category
                   16   is represented in the data corpus (i.e., as a percentage of data used to train the model);
                   17          e.      All policies and procedures Related to identifying, assessing, vetting and selecting
                   18   sources of data for the model.
                   19   RESPONSE TO INTERROGATORY NO. 1:
                   20          Meta incorporates by reference its objections and definitions above, including to the terms
                   21   “You” and “Meta Language Models.” Meta further notes that the capitalized term “Related” is not
                   22   defined; Meta construes that term coextensively with “concerning.”
                   23          As an initial matter, Meta objects to this Interrogatory because it consists of multiple,
                   24   separate Interrogatories, each which count toward Plaintiffs’ limit under the Federal Rules. For
                   25   example, the question about what data used to train a model is separate from how it was obtained,
                   26   and further, subparts (d) and (e) are not subsumed within and necessarily related to the primary
                   27   question, and purport to require a calculation of percentages of data, and separate identification of
                   28   “policies” and “procedures” for (1) identifying, (2) assessing, (3) vetting, and (4) selecting data.
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                    1          n.      Marc Zuckerberg
                    2          o.      Marc Andreessen
                    3   RESPONSE TO INTERROGATORY NO. 15:
                    4          Meta incorporates by reference its objections and definitions above, including to the term
                    5   “Meta Language Models.”
                    6          As an initial matter, Meta objects to this Interrogatory because it consists of at least fifteen
                    7   Interrogatories, which count toward Plaintiffs’ limit. Specifically, each individual’s role in the
                    8   broad subjects of “design, training, development, testing, marketing, release or support” are
                    9   separate subjects, and are not necessarily related to one another.
                   10          Meta objects to this Interrogatory as vague and ambiguous as to the term “support,” which
                   11   is undefined and effectively meaningless. Meta also objects to this Interrogatory as vague and
                   12   ambiguous as to the phrase “involved in any aspect of,” which is undefined and overbroad. Meta
                   13   will construe this Interrogatory to seek information concerning the identified individuals’ job
                   14   responsibilities in connection with the “design, training, development, testing, marketing, and
                   15   release” of the Meta Language Models (as construed above).
                   16          Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate
                   17   to the needs of the case and seeks information that is not relevant to the parties’ claims and defenses,
                   18   in particular to the extent it seeks information concerning issues unrelated to Plaintiffs’ theory of
                   19   copyright infringement.
                   20          Finally, Meta objects to this Interrogatory because it exceeds Plaintiffs’ limit of 25
                   21   Interrogatories under Rule 33(a)(1).
                   22          For these reasons, Meta will not respond to the Interrogatory.
                   23
                        Dated: February 23, 2024                                 COOLEY LLP
                   24
                                                                             By: /s/ Judd Lauter
                   25                                                           Judd Lauter
                                                                                Bobby Ghajar
                   26                                                           Mark Weinstein
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                   27                                                           Colette Ghazarian
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ATTORNEYS AT LAW                                                                                       META’S RESP & OBJ’S TO
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                    1                                          PROOF OF SERVICE
                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3    in Santa Clara County, State of California, in the office of a member of the bar of this Court, at

                    4    whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5    within action. My business address is Cooley LLP, 3175 Hanover Street, Palo Alto, California

                    6    94304-1130. On the date set forth below I served the documents described below in the manner

                    7    described below:

                    8                  DEFENDANT META PLATFORMS, INC.’S RESPONSES AND OBJECTIONS TO
                                        PLAINTIFFS’ FIRST SET OF INTERROGATORIES
                    9

                   10          (BY  ELECTRONIC MAIL) I am personally and readily familiar with the business
                                 practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13
                                Executed on February 23, 2024, at Palo Alto, California.
                   14

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                   16                                                              Jessica G. Alvarez-Lopez
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                                                                         1                                PROOF OF SERVICE
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